 

Case 3:11-cv-00125-RBD-JBT Document 7 Filed 06/29/11 Page 1 of 1 PagelD 20

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
STEPHANIE PARSONS,
Plaintiff,
vs. Case No. 3:11-cv-125-J-37JBT
SHAPIRO AND PRICE CORP.,

Defendant.

 

ORDER

 

Upon review of Plaintiff's Notice of Voluntary Dismissal Without Prejudice (Doc. No.

6), filed June 28, 2011, this case is dismissed without prejudice. The Clerk shall close the

 

file.
DONE AND ORDERED in Chambers, at Jacksonville, Florida, on June 29, 2011.
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- ROY B. DALTON, JR?
United States District Judge
Copies to:

Counsel of Record

 

 
